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                             UNITED STATES DISTRICT COURT
 2
                           CENTRAL DISTRICT OF CALIFORNIA
 3
 4                                              Case No. 8:20-cv-01277
      COMPLETE MEDICAL SALES,
 5    INC.,
 6
 7                 Plaintiff/Counter-
                   Defendant,                       FINAL JUDGMENT
 8
 9    v.

10    GENORAY AMERICA INC.,
11
12                 Defendant/Counter-
13                 Claimant.

14
15
16         For the reasons set forth in the Court’s Findings of Fact and Conclusions of

17   Law entered this day, it is

18         ORDERED AND ADJUDGED that Plaintiff/Counter-Defendant Complete

19   Medical Sales, Inc. (CMS) shall have and recover from Defendant/Counter-Claimant

20   Genoray America, Inc. (Genoray) the sum of $13,566.50 on CMS’s breach of contract

21   claim. CMS shall take nothing on any of its additional claims against Genoray. It is

22   further

23         ORDERED AND ADJUDGED that Genoray shall have and recover from CMS

24   the sum of $477,000.00 on Genoray’s counterclaim against CMS.

25         This is a Final Judgment.

26
27   Dated: October 13, 2021            _______________________________________
                                             STANLEY BLUMENFELD, JR.
28                                         UNITED STATES DISTRICT JUDGE

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